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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION


 Sharon Yvonne Ross,                                 C/A No.: 3:22-cv-03043-MGL-PJG

                                    Plaintiff,

 vs.                                                  PLAINTIFF’S RESPONSES TO LOCAL
                                                     RULE 26.01 (D.S.C) INTERROGATORIES
 Billy R. Oswald; Oswald & Burnside, LLC;
 Billy R. Oswald Law Firm, LLC; and Oswald
 Realty Inc.;

                Defendants,



       The following constitute the Plaintiff’s responses to the interrogatories contained in Rule

26.01 of the Local Civil Rules (D.S.C) for the United States District Court for the District of South

Carolina.

       (A)     State the full name, address and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of said interest.

       RESPONSE: Plaintiff is not aware of any person or legal entity which may have

subrogation interest in the Plaintiff’s claim. However, Plaintiff reserves the right to amend

this response if it later discovers the existence of such an interest.

       (B)     As to each claim, state whether it should be tried jury or non-jury and why.

       RESPONSE: Plaintiff is entitled to have all their claims tried by a jury because this

right is provided by statute or common law.

       (C)     State whether the party submitting these responses is a publicly owned company

and separately identify: (1) each publicly owned company of which it is a parent, subsidiary,

partner, or affiliate; (2) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (3) each publicly owned company

in which the party owns ten percent or more of the outstanding shares.

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          RESPONSE: Plaintiff is an individual not a company or corporation.

          (D)   State the basis for asserting the claim in the division in which it was filed (or the

basis of any challenge to the appropriateness of the division).

          RESPONSE:     This matter is properly in the Columbia Division, as all acts or

omissions giving rise to the claims set forth in Plaintiff’s Compliant occurred in the

District of South Carolina, Columbia Division.

          (E)   Is this action related in whole or in part to any other matter filed in this District,

whether civil or criminal? If so, provide: (1) a short caption and the full case number of the related

action; (2) an explanation of how the matters are related; and (3) a statement of the status of the

related action. Counsel should disclose any case which may be related regardless of whether they

are still pending. Whether cases are related such that they should be assigned to a single judge

will be determined by the Clerk of Court based on a determination of whether the cases: arise from

the same or identical transactions, happenings, happenings, or events; involve the identical parties

or property; or for any other reason would entail substantial duplication of labor if heard by different

judges.

          RESPONSE: This action is not related, in whole or in part, to any other matter filed

in this district.

                                                       Respectfully submitted,

                                                       BURNETTE SHUTT & McDANIEL, PA

                                                       s/ Jack E. Cohoon
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Columbia, South Carolina                               ATTORNEY FOR PLAINTIFF
September 9, 2022


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